Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 1 of 17




                      Exhibit 50
Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 2 of 17
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 3 of 17



continued	to	investigate	allegations	of	sexual	assault	on	behalf	of	individuals	
charged	in	the	criminal	justice	system	with	committing	sexual	assault.			
	
I	have	attended	numerous	trainings	and	webinars	on	the	topics	of	The	Clery	Act	and	
Title	IX	and	have	spoken	and	presented	at	various	MCLE	seminars	on	investigating	
sexual	assault	cases	and	I	have	trained	at	fraternities,	sororities	and	high	schools	on	
how	to	navigate	Title	IX	and	avoid	instances	and	allegations	of	sexual	assault.		In	my	
years	of	working	in	this	field,	I	have	interviewed	literally	hundreds	if	not	thousands	
of	witnesses	somehow	related	to	allegations	of	sexual	misconduct.		I	have	
interviewed	dozens	and	dozens	of	students,	faculty	members,	administrative	
employees	and	family	members	of	students	at	various	colleges	and	universities	
around	the	country.			
	
    II.    Assignment	&	Materials	Considered	
           	
I	have	been	hired	by	the	firm	of	Todd	&	Weld,	LLP	to	review	all	discovery	
documents	in	the	matter	of	Jack	Montague	v.	Yale	University	and	to	offer	my	expert	
opinion	regarding	the	quality	and	completeness	of	the	investigation	conducted	on	
behalf	of	Yale	University.		For	these	services	I	have	been	compensated	at	a	rate	of	
$150	per	hour.			
	
In	order	to	form	my	conclusions	regarding	the	investigation	in	question,	I	requested,	
was	provided,	and	have	reviewed	the	materials	listed	in	Appendix	A.	
	
	
    III.   Standards	Applicable	to	Title	IX	Investigations	
           	
Title	IX	is	an	evolving	area	of	the	law	as	it	relates	to	investigations	of	allegations	of	
sexual	misconduct	on	academic	campuses.		Guidance	has	been	given	to	educational	
institutions	through	a	series	of	mandates	from	the	federal	government.		While	there	
is	not	a	set	procedure	that	each	school	must	follow	and,	in	fact,	each	school’s	


	                                                                                            2	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 4 of 17



approach	is	unique,	there	are	minimum	expectations	for	how	these	cases	are	to	be	
handled.		One	of	the	most	explicit	sets	of	standards	for	such	investigations	came	in	
2011,	from	the	U.S.	Department	of	Education	Office	for	Civil	Rights	in	the	form	of	
what	is	now	known	as	the	“Dear	Colleague	Letter”.		This	letter	sets	out	in	no	
uncertain	terms	that	investigations	must	be	“prompt,	thorough,	and	impartial”.		
Furthermore,	Yale	University’s	own	“UWC	Procedures”	sets	forth	the	requirement	
that	the	fact-finder	be	“impartial”	and	conduct	a	“thorough”	investigation.	(UWC	
Procedures,	at	7.3.)	
	
    IV.    Opinions	
           	
It	is	my	opinion,	based	on	my	education,	training	and	experience,	and	my	review	of	
the	documents	provided,	that	this	investigation	was	neither	thorough,	nor	impartial.		
The	investigation	was	not	thorough	in	a	number	of	respects.		First,	it	failed	the	most	
basic	standard	of	thoroughness	in	that	that	it	did	not	include	an	examination	of	a	
whole	host	of	potential	electronic	communications.		The	independent	“Fact	Finder”	
retained	by	Yale	University,	Ms.	Miriam	Berkman,	should	have,	but	failed	to,	inquire	
of	each	and	every	witness	whether	they	had	read,	seen	or	heard	of	any	electronic	
communications	or	social	media	posts	regarding	the	alleged	incident	or	the	
relationship	between	Ms.	Roe          and	Mr.	Montague.		Had	she	asked	this	of	each	
witness	and	received	any	affirmative	or	uncertain	response,	the	independent	fact-
finder	should	have	requested	that	those	witnesses	search	their	phones,	computers	
and	other	devices	and	request	that	they	turn	over	anything	that	referenced	the	
relationship	between	Ms.	Roe          and	Mr.	Montague	or	the	night	in	question.		
Posts	and	communications	of	this	sort,	that	might	be	contemporaneous	with,	or	at	
least	made	shortly	following	the	alleged	event,	often	reveal	the	most	honest	and	
accurate	perceptions	of	the	event	and	often	are	written	without	being	tainted	by	
input	from	friends	or	other	events	that	take	place	in	the	aftermath	of	the	encounter	
or	created	in	anticipation	of	building	a	case	against	the	other	party.			
	



	                                                                                       3	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 5 of 17



In	the	investigation	of	any	alleged	incident	of	any	kind,	it	is	imperative	to	learn	of,	
and	carefully	examine,	any	and	all	statements	of	any	sort	made	by	any	of	the	parties	
involved,	including	conversations	amongst	friends	of	the	parties	directly	involved.		
In	the	21st	century,	an	integral	part	of	discovering	and	examining	potentially	
relevant	statements	is	the	search	for	electronic	communications	and	social	media	
posts.				Ms.	Berkman	does	not	appear	to	have	requested	of	any	of	the	friends	of	
either	party	any	text	messages	or	electronic	posts	regarding	the	relationship	
between	the	parties	or	the	alleged	incident.		She	relied	upon	Ms.	Roe            to	turn	
over	only	her	own	text	messages	to	a	single	friend	and	did	not	take	the	initiative	to	
search	further.	
	
The	entire	investigative	process	also	failed	to	be	impartial.		A	bias	towards	simply	
taking	Ms.	Roe          story	at	face	value	dictated	further	actions	on	the	part	of	the	
fact-finder	and,	as	a	result,	Ms.	Berkman	failed	to	pursue	important	lines	of	inquiry,	
thereby	ensuring	an	even	less	thorough	investigation.		Throughout	her	inquiry,	Ms.	
Berkman	appears	to	have	failed	to	take	an	objective	approach,	by	gathering	all	
possible	information	that	could	shed	light	on	what	actually	happened,	and	what	
each	party	perceived	was	happening	and	being	communicated	at	the	time	of	the	
incident.		Instead,	she	appears	to	have	read	the	complaint	and	sought	only	
information	to	support	the	allegations	made	in	the	complaint.			
	
In	order	to	assess	the	credibility	of	both	parties,	as	well	as	each	student’s	
perspective	on,	and	role	in,	the	relationship,	and	to	assess	if	there	was	any	sort	of	
pre-existing	power	dynamic,	it	is	important	for	an	investigator	to	examine	the	
relationship	and	interactions	between	the	parties	involved	before,	during,	and	after	
the	alleged	incident.		Ms.	Berkman	failed	to	examine	thoroughly	the	pre-existing	
relationship,	in	part	by	failing	to	examine	communications	between	the	parties	prior	
to	October	18,	2014.	
	
For	example,	Ms.	Berkman	stated	in	her	deposition	that	she	did	not	examine	any	
text	messages	between	Ms.	Roe           and	Mr.	Montague	prior	to	the	alleged	


	                                                                                           4	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 6 of 17



incident.		Ms.	Berkman	knew	that	there	was	a	pre-existing	intimate	relationship	
between	the	two	parties	yet,	without	even	looking	at	messages	that	pre-dated	the	
alleged	events,	did	not	request	that	Ms.	Roe         turn	over	prior	messages	“because	
I	didn’t	think	that	there	was	anything	relevant	in	those	messages”.	(Berkman	Tr.	at	
23,	l.13-14.)		A	thorough	investigation	would	include	at	least	an	attempt	to	review	of	
any	and	all	messages	between	the	parties	during	the	less	than	two	month	period	
that	they	had	been	involved.	
	
Similarly,	Ms.	Berkman	did	not	request	of	all	parties	that	they	turn	over	any	and	all	
communications	(including	text	messages,	emails,	or	social	media	posts)	that	they	
had	sent,	received,	observed	or	heard	about.		Instead,	she	relied	exclusively	on	what	
Ms.	Roe        chose	to	turn	over	in	support	of	her	allegations.	Ms.	Berkman	only	
asked	Ms.	Roe         to	provide	the	text	messages	“that	she	felt	was—that	she	
wanted	me	to	see	in	relation	to	the	investigation....I	didn’t	ask	for	other	text	
messages	because	I	didn’t	think	they	were	relevant”.	(Deposition,	p.	24,	l.15-20.)		
Ms.	Berkman	should	have	requested	that	Ms.	Roe             turn	over	all	
communications	she	had	with	anyone	regarding	the	relationship	with	Mr.	Montague	
and	the	night	in	question,	not	just	those	that	Ms.	Roe        “wanted	[her]	to	see”.		
(Deposition,	at	p.	24.)	
	
It	also	appears	that	Ms.	Berkman	was	not	impartial	in	her	approach	as	evidenced	by	
her	discussion	of	the	facts	before	her.		Again,	Ms.	Berkman	concludes	in	her	report	
(Fact	Finder’s	Report,	Exhibit	13)	that	Ms.	Roe          accounts	of	the	night	in	
question	remain	consistent,	thereby	lending	her	credibility.		However,	in	drawing	
such	a	conclusion,	Ms.	Berkman	sets	aside	facts	to	the	contrary	and	actually	
excludes	some	of	those	facts	from	her	report.		That	report	lays	out	discussions	
between	Ms.	Roe            and	Mr.	Montague	before	entering	the	basketball	house,	
about	whether	or	not,	at	that	point	in	time,	the	parties	wanted	to	have	vaginal	sexual	
intercourse.		It	then	explains	that	inside	Mr.	Montague’s	room	Mr.	Montague	kissed	
Ms.	Roe        and	“touched	her	body	including	her	genitals,	to	which	she	had	no	
objection”.	(Exhibit	13,	at	page	5.)		However,	the	report	is	completely	devoid	of	any	


	                                                                                        5	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 7 of 17



mention	of	the	digital	penetration	to	which	Ms.	Roe                             eventually	admits	she	
consented.		It	also	does	not	point	out	that	she	never	told	her	friends	that	she	
consented	to	digital	penetration.	
	
By	omitting	any	mention	of	consensual	penetration,	Ms.	Berkman	took	out	of	the	
equation	altogether	the	possibility	that	Ms.	Roe                            had	changed	her	mind	about	
how	far	she	wanted	the	sexual	encounter	to	go	or	that	Mr.	Montague	could	have	had	
a	reasonable	belief	that	Ms.	Roe                            had	changed	her	mind	and	now	was	indicating	
consent	to	take	things	beyond	to	what	she	had	agreed	to,	previously.		Given	that,	by	
Ms.	Roe                       own	account,	she	did	not	believe	that	Mr.	Montague	heard	her	say	
“no”	just	prior	to	the	alleged	assault,1	and	the	fact	that	she	downplayed	the	
significance	of	her	pushing	his	shoulders	(which	she	said	she	did	“not	very	
forcefully”),	Berkman’s	failure	to	place	adequate	emphasis	on	the	ways	in	which	Ms.	
Roe                may	have	nonverbally	consented	to	sexual	intercourse	was	particularly	
prejudicial.		Consent	is	something	that	is	communicated.		Here,	the	fact-finder	failed	
to	properly	present	for	consideration	by	the	UWC	Panel	significant	evidence	that,	
whatever	Ms.	Roe                              had	earlier	told	Mr.	Montague	about	the	limits	of	their	
encounter,	she	subsequently	through	her	actions	communicated	nonverbal	consent	
to	sexual	intercourse.	Any	later	revocation	of	that	consent	would	have	had	to	have	
been	communicated	to	Mr.	Montague.		The	fact	that	Ms.	Roe                                claims	to	have	
said,	“’No’”	at	this	point,	but	that	Mr.	Montague	looked	“as	if	he	did	not	hear	what	
she	was	saying”,	(Exhibit	13,	at	pg	5)	and	the	fact	that	Ms.	Roe                           claims	to	have	
“pushed	him	but	not	very	forcefully”	(Exhibit	13,	at	pg	5),	does	not	provide	support	
for	the	claim	that	she	was	revoking	the	consent	that	was	given	through	her	non-
verbal	actions	and	participation	in	the	sexual	activities	at	this	point,	as	described	
above.		The	UWC	Panel	may	still	have	found	against	Mr.	Montague,	but	Ms.	

																																																								
1	In	her	deposition,	Ms.	Berkman	confirmed	that	her	contemporaneous	notes	reflect	that	Ms.	

Roe        told	Berkman	that	when	she	said	“no”	just	prior	to	the	alleged	assault,	Mr.	Montague	
“didn’t	seem	to	hear.”		However,	in	the	fact-finder’s	report,	Ms.	Berkman	curiously	concluded	that	Mr.	
Montague’s	lack	of	hearing	was	a	result	of	intoxication,	writing	he	“looked	very	drunk,	as	if	he	did	not	
hear	what	she	was	saying.”	There	is	no	evidence	that	Ms.	Roe          said	anything	about	Mr.	Montague	
appearing	drunk,	yet,	in	drawing	this	conclusion,	Ms.	Berkman	effectively	eliminated	the	possibility	
that	Ms.	Roe        “no”	was	inaudible.	


	                                                                                                            6	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 8 of 17



Berkman’s	report	simply	did	not	present	a	complete	and	impartial	recitation	of	the	
facts,	as	she	heard	them.			
	
The	Fact	Finder	also	failed	to	give	a	full	picture	of	factors	that	may	have	shed	some	
light	on	Mr.	Montague’s	credibility.		Ms.	Berkman	chose	to	emphasize	in	her	report	
where	Mr.	Montague’s	memory	of	the	second	and	third	encounters	between	himself	
and	Ms.	Roe        differed	from	that	of	Ms.	Roe          and	was	blurry	on	some	
details	and	clear	on	some	others.		However,	the	Fact	Finder	had	an	obligation	to	
highlight	the	fact	that,	at	the	time	that	Mr.	Montague	was	first	interviewed	by	this	
Fact	Finder,	he	had	not	been	given	any	advance	notice	of	which	of	the	several	
intimate	encounters	he	and	Ms.	Roe          participated	in	would	be	the	subject	of	his	
interview.		It	is	incumbent	upon	the	Fact	Finder	to	share	the	context	in	which	
answers	were	given.		The	fact	that	over	a	year	had	passed	since	the	series	of	
encounters	and	the	fact	that	Mr.	Montague	did	not	have	any	advance	warning	as	to	
which	night	they	would	be	discussing	which	might	have	allowed	him	to	reflect	and	
clarify,	to	the	extent	possible	after	the	passage	of	so	much	time,	undeniably	gives	
context	to	the	answers	given.			In	order	to	provide	a	thorough	and	impartial	report	
to	the	UWC,	it	was	incumbent	upon	the	Fact	Finder	to	describe	fully	the	
circumstances	under	which	the	parties	were	interviewed.		The	Fact	Finder	failed	to	
do	so	here.	
	
The	Fact	Finder’s	Report	also	failed	to	highlight	the	variations	in	the	versions	of	the	
story	that	Ms.	Roe        told.		Ms.	Berkman	had	quite	a	few	friends	of	Ms.	Roe          	
whom	she	could	interview	to	gather	information	and	to	assist	her	in	assessing	the	
credibility	of	Ms.	Roe         By	comparing	the	various	stories	that	a	witness	has	
told,	one	can	gauge	the	consistency	and	therefore	credibility	of	that	witness	to	a	
certain	degree.		Ms.	Berkman	did,	indeed,	interview	these	five	witnesses.		However,	
not	only	did	she	fail	to	solicit	potentially	insightful	evidence	in	any	requests	for	
electronic	communications	from	these	witnesses,	she	also	glossed	over	aspects	of	
Ms.	Roe         story	that	were	not	included	in	the	versions	of	the	story	that	she	told	
her	friends.		So,	while	the	fact	finder	focused	on	the	parts	of	Ms.	Roe         story	


	                                                                                            7	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 9 of 17



that	were	consistent	when	she	told	her	friends,	she	failed	to	mention	in	her	report,	
and	perhaps	to	consider	in	drawing	her	conclusions,	the	holes	that	Ms.	Roe            left	
blank	in	her	stories	to	others.		There	is	no	evidence	that	Ms.	Roe        ever	told	any	
of	these	five	friends	that,	after	stating	to	Mr.	Montague	that	she	wanted	to	“’hook	up’	
but	not	‘have	sex’”	(Exhibit	13,	at	page	3),	she	then	went	into	his	bedroom,	
voluntarily	took	off	her	clothes,	got	into	Montague’s	bed	with	him	after	he	had	taken	
off	his	clothes,	and	kissed	and	touched	him	while	he	kissed	and	touched	and	
digitally	penetrated	her.	It	is	notable	that	Ms.	Roe       gave	various	versions	of	her	
story	to	different	parties	and	it	potentially	sheds	light	on	her	credibility	and	
therefore	should	have	been	included	in	the	report.		The	fact-finder	in	this	case	
should	have	considered	the	question	of	whether	Ms.	Roe            did	not	tell	her	
roommates	this	information	because	she	thought	it	might	look	to	them	like	she	had	
changed	her	mind	and	consented	to	having	sex	with	Mr.	Montague	by	this	point,	or	
because	she	was	ashamed,	given	her	prior	regrets	over	having	had	sexual	
intercourse	with	Mr.	Montague,	that	she	had,	in	fact,	changed	her	mind	and	decided	
to	have	sexual	intercourse	with	him	again,	or	because	she	realized	that	perhaps	Mr.	
Montague	might	have	thought	she	had	changed	her	mind,	or	for	some	other	reason,	
altogether.		No	matter	what,	if	any,	conclusion	had	been	drawn,	it	is	quite	notable	
that	Ms.	Roe        chose	not	to	share	this	information	with	any	of	the	five	
roommates.		The	fact	that	Ms.	Berkman	chose	to	ignore	and	omit	the	significant	
variations	in	accounts	of	the	events	given	by	Ms.	Roe         shows	a	concerning	lack	
of	impartiality	on	the	part	of	the	fact-finder.	
	
Similarly,	the	fact-finder	failed	to	highlight	the	fact	that	Ms.	Roe     gave	her	
friends	and	the	fact	finder	different	descriptions	of	the	actions	she	claims	to	have	
taken	to	express	that	she	did	to	not	want	to	have	vaginal	sexual	intercourse.		Ms.	
Roe       told	the	fact-finder	that,	when	she	thought	Mr.	Montague	was	going	to	
engage	in	vaginal	sexual	intercourse	“she	pushed	him,	but	not	very	forcefully”	
(Exhibit	13,	at	pg.	5),	and	then	after	the	intercourse	began	she	did	not	attempt	to	
push	him	off,	explaining,	“she	did	not	think	she	could	push	him	off	if	she	tried	
because	he	was	bigger	and	heavier	than	she	was”.		(Exhibit	13,	at	pg.	5.)		Ms.	


	                                                                                        8	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 10 of 17



Roe         friend,	Rachel	Rogerstold	the	fact-finder	that	Ms.	Roe       had	told	her,	“’I	
couldn’t	push	him	off’”	(Exhibit	13,	at	pg.	15),	Ms.	Roe       never	told	her	friend,	
REDACTED            that	she	pushed	Mr.	Montague,	at	all,	and	she	told	REDACTED			
“’he	was	too	heavy	for	her	to	push	off’”.	(Exhibit	13,	at	pg.	15).The	fact	finder’s	
report	should	have	at	least	pointed	out	the	variations	in	this	story	rather	than	
categorized	these	various	statements	as	consistent.	
	
In	her	“Discussion	and	Summary”,	Ms.	Berkman	concluded,	“Ms.	Roe                 friends’	
testimony	does	corroborate	her	statements	(Exhibit	13,	at	pg.	18),	and	she	adds,	
“The	text	thread	with	REDACTED...	appears	to	be	a	contemporaneous	written	record	of	
Ms.	Roe         experience....”	(Exhibit	13,	at	pg.	18).		Thus,	she	concluded	that	Ms.	
Roe       was	credible	because	the	evidence	she	provided	corroborated	her	
statements.		However,	this	is	an	incomplete	inquiry.	Ms.	Berkman	never	sought	any	
text	messages	from	those	friends	that	potentially	were	inconsistent	with	Ms.	
Roe         story.		It	seems	that	once	Ms.	Berkman	had	received	from	Ms.	Roe              	
seemingly	corroborative	electronic	communications	with	one	friend,	she	was	
satisfied	and	halted	further	inquiry.	
	
The	fact-finder	also	demonstrated	a	one-sided	approach	to	obtaining	facts	in	an	
effort	merely	to	support	Ms.	Roe           claims	when	she	failed	to	follow-up	on	a	line	
of	questioning	regarding	a	curious	series	of	events.		Ms.	Roe         reported	that,	
following	her	alleged	sexual	assault,	she	left	the	bedroom	of	her	perpetrator,	left	his	
dorm,	walked	to	Toad’s	Place,	left	Toad’s	Place,	walked	to	her	dorm,	went	inside	her	
dorm,	then	called	her	assailant	on	the	phone,	made	a	plan	to	meet	up	with	him,	
walked	back	to	his	dorm	together	with	him,	climbed	into	his	bed	with	him	and	slept	
in	bed	with	him	until	they	woke	the	next	morning.		Ms.	Roe           described	her	walk	
back	to	Mr.	Montague’s	dorm	as	“normal	and	flirty”.		(Exhibit	13,	at	pg.	6)		Ms.	
Roe       explained	that	she	left	the	safety	of	her	dorm,	to	go	back	to	the	bed	of	her	
perpetrator,	because	she	didn’t	want	to	be	“asked	a	lot	of	questions”	from	various	
people	in	her	suite	(Exhibit	13,	at	pg.	6).		While	the	actions	of	any	victim	of	a	sexual	
assault	are	determined	by	a	whole	host	of	factors	and	understandably	can	vary	


	                                                                                         9	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 11 of 17



widely	from	individual	to	individual,	Ms.	Roe         actions	could	reasonably	raise	
some	questions	as	to	whether	they	are	consistent	with	two	individuals	in	the	
aftermath	of	a	sexual	assault	between	them.		Those	actions,	of	course,	while	not	in	
and	of	themselves	enough	to	call	into	question	the	credibility	of	the	allegations,	do	
require	deeper	questioning	to	determine	what,	in	fact,	led	to	those	actions	being	
taken.		The	fact	that	Ms.	Berkman	chose	not	to	probe	further	regarding	this	
interesting	behavior	demonstrates	a	level	of	partiality	towards	believing	Ms.	
Roe       without	the	necessary	professional	skepticism	that	should	accompany	the	
inquiry	of	any	witness.		When	Ms.	Roe        explained	that	she	left	the	safety	of	her	
own	dorm	because	she	didn’t	want	to	answer	a	lot	of	questions,	a	fact-finder	
genuinely	searching	for	a	complete	and	unbiased	view	of	the	truth	must	inquire	into	
what	types	of	questions	were	so	overwhelming	to	make	Ms.	Roe             prefer	to	
retreat	to	the	bed	of	the	man	whom	she	says	assaulted	her	that	very	night.		The	lack	
of	a	follow-up	line	of	questioning	by	Ms.	Berkman	suggests	that	she	wasn’t	really	
seeking	to	get	to	the	bottom	of	the	dynamic	between	the	parties	at	that	time.		
Perhaps	Ms.	Roe        was	confused	as	to	what	had	happened	that	night,	which	in	
turn	could	shed	some	light	on	whether	Mr.	Montague,	as	well,	could	justifiably	have	
been	confused	at	the	time.		Perhaps	she	was	embarrassed	to	admit	to	her	
roommates	that	she	had	had	sex	with	Mr.	Montague	again	after	previously	
complaining	that	she	had	given	in	to	having	sex	with	him	and	regretting	it.		Or,	
perhaps	any	one	of	these	friends	and	roommates	would	have	reacted	dramatically	
to	what	Ms.	Roe        says	happened	to	her	and	it	was	more	than	what	she	could	
handle	emotionally	at	that	time.	There	are	any	number	of	possible	explanations.		
However,	the	fact	that	Ms.	Berkman	failed	to	even	inquire	further	demonstrates	a	
premature	willingness	to	simply	accept	as	truth	whatever	Ms.	Roe           said	and	
thus	a	concerning	lack	of	impartiality.	
	
The	fact-finder	also	failed	to	adequately	explore	Ms.	Roe         motivation	in	
pursuing	a	formal	complaint	against	Mr.	Montague,	and	how	that	may	have	borne	on	
her	credibility.		Ms.	Roe      told	the	fact-finder	that	when	she	first	agreed	to	speak	
to	Title	IX	Coordinator,	Angela	Gleason,	that	she	“was	not	interested	in	having	Mr.	


	                                                                                      10	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 12 of 17



Montague	punished”	and	“did	not	want	to	engage	in	the	lengthy	and	difficult	process	
of	telling	the	story	repeatedly	and	being	questioned	in	detail	by	strangers	on	the	
UWC.”		However,	Ms.	Roe          testified	at	Mr.	Montague’s	UWC	hearing	that	her	
conversations	with	Ms.	Gleason	“reframed	the	incident”	for	her	and	convinced	her	to	
pursue	a	formal	complaint.		Although	the	fact-finder’s	investigation	revealed	that	
Ms.	Roe         decision	to	pursue	a	formal	complaint	was	strongly	influenced	by	
what	Ms.	Gleason	had	communicated	to	her	regarding	Mr.	Montague’s	past	
involvement	with	the	Title	IX	apparatus,	the	fact-finder	did	not	explore	with	Ms.	
Roe       the	possibility	that	her	perception	of	what	had	happened	on	October	18,	
2014	was	altered	once	she	was	led	to	believe	that	Mr.	Montague	previously	had	
been	disciplined	for	sexual	misconduct.		The	fact	that	the	school	breached	
confidentiality	in	sharing	any	information	regarding	Mr.	Montague’s	record	at	Yale,	
and	permitted	Ms.	Roe         to	proceed	under	a	misunderstanding	of	what	that	
record	reflected	was	a	hugely	significant	fact	that	should	have	been	further	explored	
and	highlighted	in	the	fact	finder’s	report.	
	
The	shortcomings	of	the	fact-finder’s	report	resulted	in	an	investigation	by	Yale	
University	that	was	one-sided	in	favor	of	the	Ms.	Roe        possibly	by	virtue	of	the	
fact	that	she	was	the	female	making	the	complaint.		Mr.	Montague	was	not	afforded	
the	same	benefit	of	the	doubt	approach	that	was	constantly	afforded	Ms.	Roe                	
and	Ms.	Roe        was	only	ever	asked	to	provide	support	for	her	claims.		Her	
credibility	did	not	appear	to	be	scrutinized	in	the	way	that	Mr.	Montague’s	was	
throughout	the	investigation	and	in	a	way	that	any	professional	investigator	should	
scrutinize	statements	by	any	party	in	any	sort	of	investigation.		Several	potential	
pieces	of	objective	evidence	that	could	have	shed	further	light	on	Ms.	Roe             	
memory	or	credibility	was	never	sought.		The	variations	in	Ms.	Roe            story	
were	never	presented	to	the	UWC	and	therefore	never	were	considered.	As	a	result,	
the	entire	disciplinary	proceeding	against	Mr.	Montague	was	one-sided.	
	
	



	                                                                                          11	
    Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 13 of 17



Although	the	Fact	Finder’s	Report	lays	out	some	of	the	versions	of	events	that	Ms.	
Roe       told	the	Ms.	Berkman,	and,	in	other	parts	of	the	reports	lays	out	versions	
Ms.	Roe       told	her	friends,	by	summarizing	them	as	consistent,	rather	than	
pointing	out	the	changes,	were	summarily	accepted	as	consistent	by	the	Panel	
Report.		This	is	made	clear	by	the	fact	that	the	UWC	Panel	Report	ignores	the	same	
inconsistencies	and	seems	to	take	the	Fact	Finder’s	Report	at	face	value.		For	
example,	the	UWC	Panel	Report,	just	like	the	Fact	Finder’s	Report,	makes	no	
mention	of	the	fact	that	Ms.	Roe       never	told	any	of	her	friends	that	she	
consented	to	digital	vaginal	penetration,	nor	does	the	UWC	Panel	Report	make	note	
of	the	fact	that	Ms.	Roe       descriptions	of	how	she	showed	a	lack	of	consent	(in	
terms	of	her	pushing	against	Mr.	Montague’s	chest)	varies	from	friend	to	friend	to	
Fact	Finder.		Both	reports	simply	conclude	that,	based	on	some	similarities	in	
descriptions,	that	the	descriptions	then	are	“consistent”.		The	UWC	also	makes	no	
effort	to	illuminate	the	rationale	behind	Ms.	Roe        decision	to	return	to	the	bed	
of	Mr.	Montague	within	an	hour	of	allegedly	being	sexually	assaulted	by	him,	nor	to	
engage	in	“normal	and	flirty”	conversation	on	the	walk	back	to	his	room.		There	
appear	to	be	no	further	lines	of	inquiry	regarding	the	decisions	that	were	made	at	
that	time.		Again,	these	decisions,	alone,	do	not	amount	to	Ms.	Roe       being	
inherently	not	credible,	but	they	certainly	indicate	a	process	that	was	neither	
complete	nor	impartial.		The	lack	of	impartiality	and	therefore	incomplete	
investigation	began	with	the	fact-finder’s	work	and	was	perpetuated	in	the	UWC’s	
inquiry	and	final	report.	
	
In	conclusion,	the	failure	to	follow	up	on	seeking	various	electronic	communications	
of	potential	value,	simply	deferring	to	Ms.	Roe        story	as	opposed	to	following	
up	with	probative	questions,	glossing	over	the	inconsistencies	in	Ms.	Roe            	
stories,	and	downplaying	evidence	suggesting	a	change	in	consent	amounted	to	an	
investigation	that	was	neither	thorough	nor	impartial.		The	process	demonstrated	a	
clear	bias	against	Mr.	Montague.			The	cumulative	effect	of	these	investigatory	errors	
resulted	in	prejudice	to	Mr.	Montague	because	it	deprived	the	UWC	Panel	of	relevant	
evidence	which	may	have,	if	considered,	led	to	a	not	responsible	finding,	or	at	a	


	                                                                                        12	
Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 14 of 17
  Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 15 of 17



                       Appendix A – Materials Considered

Deposition                 Bates Range or Description of Document
Exhibit No.
    1         YALE00000841-00000847
    2         Yale Sexual Misconduct Policies and Related Definitions
    3         UWC Procedures
    4         Statement on Confidentiality of UWC Proceedings
    5         Reports of Complaints of Sexual Misconduct
    6         YALE00000362-00000363
    7         YALE00000519-00000525
    8         YALE00000004-00000006
    9         YALE00000206-00000207
    10        YALE00000372-00000375
    11        YALE00000455
    12        YALE00000767-00000768
    13        Fact Finder's Report dated January 15, 2016
    14        YALE00000449-00000450
    15        YALE00000443-00000444
    16        YALE00000432-00000436
    17        Opening Statement of Jane Roe          dated January 21, 2016
    18        Letter
    19        YALE00000409
    20        YALE00007711-00007714
    21        Yale Alumni Open Letter on Sexual Misconduct Report
    22        Sexual Misconduct Scenarios
    23        YALE00001008-00001013
    24        YALE00000961
    25        YALE00000996-00000998
    26        YALE00000865
    27        YALE00000995
    28        YALE00000956-00000960
    29        YALE00000887
    30        Yale University 2015 AAU Campus Climate Survey on Sexual
              Misconduct
    31        Results of AAU Survey on Sexual Assault and Misconduct
    32        YALE00001619-00001831
              (Excerpts from a 236 page document)
    33        HR000120-000122
    34        HR000068
    35        HR000167
    36        David Post CV
    37        YALE00008460-00008461
    38        YALE00016120-00016138
    39        YALE00010847
  Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 16 of 17



Deposition                Bates Range or Description of Document
Exhibit No.
    40        MONT000794-000802
    41        YALE00008562
    42        YALE00009228
    43        UWC Report to Dean Jonathan Holloway dated February 1, 2016
    44        YALE00008552
    45        YALE00008846-00008850
    46        YALE00011244-00011245
    47        YALE00016747-00016757
    48        YALE00016743
    49        YALE00016744-00016745
    50        YALE00011250
    51        YALE00011182
    52        YALE00011258
    53        YALE00011277-00011278
    54        YALE00016834
    55        YALE00016627
    56        YALE00016735-00016736
    57        YALE000012118-00012126
    58        YALE00012012-00012014
    59        YALE00012132-00012133
    60        YALE00008151-00008157
    61        YALE00008250-00008252
    62        YALE00012034
    63        YALE00012066
    64        Voluntary Resolution Agreement
    65        YALE00008116-00008118
    66        YALE00008172-00008174
    67        YALE00012015-00012016
    68        YALE00008521-00008522
    69        YALE00011904-00011950
    70        Fact Finder's Report dated January 4, 2016
    71        YALE00011539-00011580
    72        Revisions Analysis Report
    73        YALE00012942-00012943
    74        UWC Hearing Protocol dated January 21, 2016
    75        YALE00008630
    76        YALE00010663
    77        YALE00001012-00001013
    78        YALE00016921
    79        YALE00008828
    80        YALE00009153-00009155
    81        YALE00008833-00008841
    82        YALE00008818
  Case 3:16-cv-00885-AVC Document 157-50 Filed 07/18/18 Page 17 of 17



Deposition                 Bates Range or Description of Document
Exhibit No.
    83        YALE00009147-00009149
    84        YALE00011966-00012004
    85        Letter
    86        YALE00011498-00011499
    87        YALE00017031
    88        YALE00008144-00008145
    89        YALE00016968
    90        YALE00016988-00016990
    91        YALE00021968
    92        YALE00017705-00017706
    93        YALE00017708
    94        YALE00016992-00016993
    95        YALE00016919
    96        YALE00016936-00016937
    97        MONT000176 – 000178

  Def. A      Letter
  Def. B      Statement of Max Stern, Counsel for Jack Montague dated March 14,
              2016
  Def. C      Statement re: Jack Montague v. Yale University dated June 9, 2016
  Def. D      MONT000781-000782
  Def. E      MONT000776
  Def. F      MONT000381
  Def. G      YALE00009089
  Def. H      YALE00009077-00009078
  Def. I      MONT000811
  Def. J      MONT000685-000687

              Amended Complaint and Jury Demand filed 01-25-2017
              Transcript of the deposition of Miriam Berkman dated -06-16-2017
              Transcript of the deposition of John Criscuolo dated -06-16-2017
              YALE00011387-11389
              YALE00011390-11402
              YALE00011459
              YALE00011509-11510
              YALE00011520-11523
